2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 1 of 82

Message

\From: Jennifer Rape - QCC
[jennifer.rape@gsa.gov]

Sent: 3/25/2025 4:43:17 PM

To: Loving, Kathryn
[Loving.Kathryn@epa.gov]

ICC: Katrina Lloyd - QF2C

{katrina.lloyd@gsa.gov];

Josh Gruenbaum - Q . . . _ . .
[josh.gruenbaum@gsa.gov];| Caution: This email originated from outside EPA, please exercise

Jehling, Erica additional caution when deciding whether to open attachments or click
[Jehling.Erica@epa.gov]; Jon} on provided links.

Dewolfe - QCCB
[jonathan.dewolfe@gsa.gov]
Subject: Re: Contract Termination
Shell

Attachments:EPA - Contract Termination
Log March 22 - added
reference IDs.xlsx

Good Morning, Please verify the submission for Contract/Order # PIID 683HERH25P0029/ Reference PUD
(order number) 68HE0324F0042-P00002. Both PIIDs referenced are order #s.

Is this submission for Contract/Order # PIID GSOOF117CA Reference PIID (order number) 68HE0324F0042-
P00002?

2025 National Environmental Justice Terminated for
68HERH25P0029  68HE0324F0042-P00002 Conference and Training Program Convenience $20,000

Thank you in advance,

| peemerereerete

Jennifer Rapé

| Strategic Program Advisor, Office of Customer Care
Office of Customer and Stakeholder Engagement
Federal Acquisition Service
U.S. General Services Administration
404-272-3968 / Jennifer.Rape@gsa.gov

On Tue, Mar 25, 2025 at 8:02 AM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:

Hi Katrina, you have it right. I looked up a few of these in FPDS, and what I notice is that when there is no
“reference” ID (i.e. it’s “0” in the spreadsheet), then the contract # column is the PIID in FPDS. But when
there is a reference ID, then that reference number is the PIID in FPDS, and then the “contract #” is the
“referenced IDV ID” in FPDS, as you noted.

EPA_00044608
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 2 of 82

Thanks for forcing us to understand this better — I think in the report we are getting from the staff, they are
mixing up the “contract#” and “reference” columns for the rows where contracts that have a reference. All the
info is there though, sorry this is confusing.

For example search for PID 683HERH23F0127 as a good example — the reference "68HERH19D0029" is the
referenced IDV. But if you search for PITD: 68HEOP24P0007 — it has no reference ID in our spreadsheet, and
no reference in FPDS.

The part I could not get to match with FPDS is the mod#. For example, when you search for PIID
68HERH23F0127, you can see mod P000014, but not PO00013 — My guess on this is that the mod number

increased when we cancelled the contract (and you can see the mod date is 3/10), and FPDS does not store
every mod.

Kathryn

Get Outlook for iOS

From: Katrina Lloyd - QF2C <katrina.lloyd@gsa.gov>

Sent: Tuesday, March 25, 2025 7:38:33 AM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>

Ce: Josh Gruenbaum - Q <josh.gruenbaum @gsa.gov>; Jehling, Erica <Jehling.Erica@epa.gov>; Jon Dewolfe - QCCB
<jonathan.dewolfe@gsa.gov>; Jennifer Rape - QCC <jennifer.rape@gsa.gov>

Subject: Re: Contract Termination Shell

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Hi Kathryn,

Thank you for the updated EPA submission. Please let me know if I have the correct understanding of how
EPAs Contract # and Reference PIIDs are assigned. I'm interpreting this latest submission as EPA has awarded
an IDIQ or BPA. For the IDIQ or BPA, a "Reference PID" is assigned. Any "orders" issued off of the IDIQ or
BPA are assigned a "Contract #." Both the Reference PIID and associated Contract # will be different
numbers. However, there will be instances where Contract #s will be the same but associated with different
Reference PIDs.

Essentially, it looks like the Contract numbers are being reused but associated with different Reference PHDs.
If this is correct, please confirm if in these instances, the Contracts are separate and distinct with different
contract requirements.

Thank you!

EPA_00044609
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 3 of 82

U.S. General Services Administration

Katrina Lloyd

Senior Program Analyst
Office of the Commissioner
Federal Acquisition Service

katrina. lloyd@gsa.gov
Phone 267-588-9975

On Mon, Mar 24, 2025 at 6:25 PM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:
Hi Josh,

Improved list attached. I was only including the contract number before, but now I’ve started using the
column “Reference PITD” to hold a combined “order number” ”mod number” for each contract - I am told
that all 3 numbers (contract, order, mod) are required to make sure there are no duplicates.

But there was actually 1 duplicate! I have used “strikethrough” on it in line 55, and it has no numbers in the
contract value columns for that one.

Except for the strikethrough, the attached list is the same as what I sent you on March 22, except with that
bonus “order_mod” Reference column filled in.

I also added a column “Already in Josh’s list?” = yes, if this was already reported in the table you pasted in
this email thread, to make it easier for you to reconcile.

(I did not include the POLITICO “CASE NAM” entries that are in your list, because I wasn’t sure what those
are, and they’re not in our internal list — I’m guessing those were maybe GSA following up on the POLITICO
subscription cancelations?)

Kathryn

From: Josh Gruenbaum - Q <josh.gruenbaum@gsa.gov>

Sent: Monday, March 24, 2025 8:50 AM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>

Ce: Katrina Lloyd - QF2C <katrina.lloyd@gsa.gov>; Jehling, Erica <Jehling.Erica@epa.gov>; Jon Dewolfe - QCCB
<jonathan.dewolfe@gsa.gov>; Jennifer Rape - QCC <jennifer.rape@gsa.gov>

Subject: Re: Contract Termination Shell

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whether to open attachments or click on provided links.

EPA_00044610
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 4 of 82

I think you guys were late on submissions and I believe a bunch of what was in there was new that we had not
logged so, if ok, I advise for you to work with the team to figure out what are new entries and what are
duplicates

U.S. General Services Administration

Josh Gruenbaum

Commissioner of Federal Acquisition Service
202-815-3780

josh.gruenbaum@qgqsa.gov

On Mon, Mar 24, 2025 at 8:48 AM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:

Sorry about that guys — I think Erica did the previous submission, and I didn’t see it in my email, so that’s
why I thought we were behind on submissions. But it sounds like we were not. And also that I need to go
through our internal contract list to get rid of duplicates!

Thanks,
Kathryn

From: Katrina Lloyd - QF2C <katrina.lloyd@gsa.gov>

Sent: Monday, March 24, 2025 7:29 AM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>; Jehling, Erica <Jehling.Erica@epa.gov>

Cc: Jon Dewolfe - QCCB <jonathan.dewolfe@gsa.gov>; Jennifer Rape - QCC <jennifer.rape@gsa.gov>; Josh
Gruenbaum - Q <josh.gruenbaum@gsa.gov>

Subject: Re: Contract Termination Shell

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Good Morning,

In addition to Josh email, the EPA spreadsheet provided includes several contract # duplicates (I counted 12)
with different ceiling and savings values. We can't include duplicates in the GSA termination log. Within
your updated spreadsheet submission, please ensure there are no duplicate entries.

EPA_00044611
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 5 of 82
Thank you!

U.S. General Services Administration

Katrina Lloyd

Senior Program Analyst
Office of the Commissioner
Federal Acquisition Service

katrina. lloyd@gsa.gov
Phone 267-588-9975

On Sat, Mar 22, 2025 at 4:48 PM Josh Gruenbaum - Q <josh.gruenbaum@gsa.gov> wrote:
Hey guys

Great!

See below for what we have from you all already. Please re-submit just new entires that haven't been logged
yet so we can ensure no duplicates, and yes, send over whenever you get these real time going fwd, please
and thank you!

Environmental Jefferson
31 1/24/2025 68HERC24A0014 Protection DEI

GSO0F120DA — Agency Consulting
Environmental FEDERAL
MANAGEMENT
32 1/24/2025 68HERC24A0013 Protection PARTNERS DEI
GS35F013CA gency LLC

Environmental Business Mgmt.

33 1/24/2025 68HERC24A0012 Protection eaee DEI
GS02F156AA Agency ,
Environmental Lighthouse
34 1/24/2025 68HERH24P0143 Protection Strategy DEI

Agency Consulting

EPA_00044612
377

2:25-Cv-02152-RMG

1/24/2025

Date Filed 04/21/25

68HERC23P0042

Entry Number 109-6

Environmental
Protection
Agency

GARTNER,
INC.

DEI

Page 6 of 82

430

2/7/2025

68HERD23P0034

Environmental
Protection
Agency

POLITICO, LLC

Media

431

2/7/2025

68HERH24P0156

Environmental
Protection
Agency

POLITICO, LLC

Media

1024

2/6/2025

89303025PMA000335

Environmental
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1025

2/6/2025

89243623FCD000005
03310319D007 1

Environmental
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89303023PFE000093

Environmental
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89303022PMA000265

Environmental
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89303025PGD000003

Environmental
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89303024POP000005

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EPA_00044613

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 7 of 82

Environmental

1036 2/6/2025 89303025PIG000148 Protection Politico Media
Agency
Environmental

1037 2/6/2025 89303024PEI000105 Protection Politico Media
Agency

Environmental
1038 2/6/2025 89303025FEI1400159 Protection Politico Media
03310323D0056 (Agency

Environmental
1825 2/14/2025 68HERH23F0237 Protection ENDYNA, INC. Consulting Services
68HERH22A0025 | Agency

Terminated for

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AND WORK LIFE

INTEGRATION.

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EPA_00044614
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CASE NAM
update:
customer states
that contract
was terminated

CASE NAM
update:
customer states
that contract
was terminated

CASE NAM
update:
customer states
that contract
was terminated

CASE NAM
update:
customer states
that contract
was terminated

CASE NAM
update:
customer states
that contract
was terminated

CASE NAM
update:
customer states
that contract
was terminated

Date Filed 04/21/25

$179,409.00

$399,091.23

$328,561.00

$281,786.00

$184,915.00

$165,768.94

$115,180.00

Entry Number 109-6

$399,091.23 $0.00

$328,561.00 $0.00

$49,000.00 $232,786.00

$129,305.00 $55,610.00

$129,303.75 $36,465.19

$115,180.00 $0.00

Page 8 of 82

EPA_00044615
2:25-Cv-02152-

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RMG Date Filed 04/21/25

CASE NAM
update:
customer states
that contract
was terminated

CASE NAM
update:
customer states
that contract
was terminated

CASE NAM
update:
customer states
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CASE NAM
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CASE NAM
update:
customer states
that contract
was terminated

CASE NAM
update:
customer states
that contract
was terminated

$98,665.00

$59,475.00

$43,560.00

$40,499.98

$29,239.00

$29,040.00

$25,800.00

Entry Number 109-6

$98,665.00 $0.00

$18,320.00 $41,155.00

$43,560.00 $0.00

$40,499.98 $0.00

$29,239.00 $0.00

$29,040.00 $0.00

$25,800.00 $0.00

Page 9 of 82

EPA_00044616
2:25-Ccv-02152-RMG

The purpose of this
requirement is to
procure an annual
Politico Pro Plus
subscription for RTM
and OA users.

The U.S. Energy
Information
Administration (EIA),
ORTM and OA will
enter into a firm-fixed
price order with
Politico, LLC. to
procure Politico Pro
Plus subscription for
one year for 3 users.

THIS CALL ORDER
IS TO AWARD A
CONTRACT FOR
ENVIRONMENTAL
JUSTICE AND CIVIL
RIGHTS
PROGRAMMING
AND LEARNING.

Date Filed 04/21/25

CASE NAM

update:

customer states $13,575.00
that contract

was terminated

CASE NAM

update:

customer states $12,300.00
that contract

was terminated

TERMINATE
FOR

Entry Number 109-6

$13,575.00 $0.00

$12,300.00 $0.00

CONVENIENCE $6,895,921.10 $6,895,921.10

(COMPLETE
OR PARTIAL)

Page 10 of 82

EPA_00044617
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 11 of 82

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EPA - Contract Termination Log March 22 - added reference IDs.xIsx

EPA_00044618 - EPA_00044644
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 12 of 82

Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 3/25/2025 5:31:12 PM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: AL DEPARTMENT ENVIRONMENTAL MANAGEMENT 84032601

Office of Environmental Justice and External Civil Rights (OEJECR)
completed cancellation of Grant: AL DEPARTMENT ENVIRONMENTAL
MANAGEMENT 84032601.

Description: THE PURPOSE OF THIS AMERICAN RESCUE PLAN
FUNDED COOPERATIVE AGREEMENT IS TO PROVIDE FUNDING TO
THE ALABAMA DEPARTMENT OF ENVIRONMENTAL MANAGEMENT
(ADEM) TO DEVELOP AND UTILIZE A MOBILE EDUCATION TRAILER
TO PROVIDE EDUCATION AND TRAINING RELATED TO THE CAUSES
AND EFFECTS OF AIR POLLUTION (CLEAN AIR ACT, SECTION 103
(B)(3) WITHIN UNDERSERVED COMMUNITIES THAT HAVE
EXPERIENCED PROLIFIC IMPACTS DUE TO THE COVID-19
PANDEMIC. THE TARGET AREA FOR THIS PROJECT IS
MONTGOMERY COUNTY, AL WHERE ONE OF THE UN

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOOO000UMce

EPA_00044645
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 13 of 82

Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 3/25/2025 5:31:51 PM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: VIRGINIA DEPARTMENT OF ENVIRONMENTAL QUALITY 84032801

Office of Environmental Justice and External Civil Rights (OEJECR)
completed cancellation of Grant: VIRGINIA DEPARTMENT OF
ENVIRONMENTAL QUALITY 84032801.

Description: THE PURPOSE OF THIS AMERICAN RESCUE PLAN
FUNDED COOPERATIVE AGREEMENT IS TO PROVIDE FUNDING TO
THE VIRGINIA DEPARTMENT OF ENVIRONMENTAL QUALITY
(VADEQ) TO IMPLEMENT TWO KEY RECOMMENDATIONS
RESULTING FROM ITS 2019-2020 ENVIRONMENTAL JUSTICE (EJ)
STUDY: 1) DEVELOPMENT AND IMPLEMENTATION OF AN EJ
TRAINING ACADEMY AND 2) DEVELOPMENT OF A VIRGINIA-
SPECIFIC EJ MAP-BASED TOOL. WORK UNDER THIS PROJECT WILL
FOCUS ON EJ TRAINING AND CAPACITY BUILDING FOR MEMBERS
OF TWO UNDERSERVED COMMUNITIES IN SOUTHEAST

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https://epabap.my.salesforce.com/a0SSJOOQ000UMcf

EPA_00044646
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 14 of 82

Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 3/25/2025 5:32:30 PM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: DEPARTMENT OF ENERGY AND ENVIRONMENT 84034101

Office of Environmental Justice and External Civil Rights (OEJECR)
completed cancellation of Grant: DEPARTMENT OF ENERGY AND
ENVIRONMENT 84034101.

Description: THE PURPOSE OF THIS AMERICAN RESCUE PLAN
FUNDED COOPERATIVE AGREEMENT IS TO PROVIDE FUNDING TO
THE DISTRICT OF COLUMBIA DEPARTMENT OF ENERGY AND
ENVIRONMENT'S (DOEE) AIR QUALITY DIVISION TO EMPOWER
PREDOMINANTLY MINORITY FAMILIES LIVING IN HIGH-POVERTY
NEIGHBORHOODS EAST OF THE ANACOSTIA RIVER IN WARDS 7
AND 8 TO TAKE ACTION TO MANAGE ENVIRONMENTAL
CONDITIONS AT HOME. THE PROJECT'S PRIMARY ACTIVITIES ARE
TO PROVIDE TRAINING AND PUBLIC EDUCATION TO IMPROVE
CHILDREN'S LONG-TERM ASTHMA CONTROL AND

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOOO000UMcg

EPA_00044647
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 15 of 82

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/25/2025 6:01:05 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-25

Attachments: Contract_Terminations_withAmounts_2025-03-25.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-25, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00044648
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 16 of 82

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Contract_Terminations_withAmounts_2025-03-25.xIsx

EPA_00044649 - EPA_00044668
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 17 of 82

Message

From: Brandon Bartel - B-C
[brandon.bartel@gsa.gov]

Sent: 3/25/2025 7:40:10 PM

To: Josh Gruenbaum - Q
[josh.gruenbaum @gsa.gov]

ICC: Loving, Kathryn

[Loving.Kathryn@epa.gov];
Jennifer Rape - QCC
[jennifer.rape@gsa.gov];
Katrina Lloyd - QF2C
{katrina.lloyd@gsa.gov];
Jehling, Erica
(Jehling.Erica@epa.gov]; Jon
Dewolfe - QCCB
[jonathan.dewolfe@gsa.gov]

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additional caution when deciding whether to open attachments or click
on provided links.

Subject: Re: Contract Termination
Shell

Attachments:EPA Contracts and
Grants.xlsx

Please see attached and let me know if you have any questions!

On Tue, Mar 25, 2025 at 3:20 PM Josh Gruenbaum - Q <josh.gruenbaum@gsa.gov> wrote:
Brandon, please sent Kathryn the EPA logs for contracts and grants (just like you did for HHS)

Kathryn, please log per the template so that it is all uniform
Thanks, both!

On Tue, Mar 25, 2025 at 3:06 PM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:

Would you all mind sending back the full xlsx file when you are done — the version I sent you didn’t have
those POLITICO contracts from early Feb that start with 89.

I’m also not sure if I’m using the columns you expect.

I want to make sure that my numbers match perfectly with your numbers going forward, and that I’m
reporting in a format that you don’t have to mess with.

Thanks,
Kathryn

From: Jennifer Rape - QCC <jennifer.rape@ gsa.gov>

Sent: Tuesday, March 25, 2025 2:10 PM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>

Ce: Katrina Lloyd - QF2C <katrina.lloyd@gsa.gov>; Josh Gruenbaum - Q <josh.gruenbaum@gsa.gov>; Jehling, Erica
<Jehling.Erica@epa.gov>; Jon Dewolfe - QCCB <jonathan.dewolfe@gsa.gov>

Subject: Re: Contract Termination Shell

EPA_00044669
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 18 of 82

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whether to open attachments or click on provided links.

Got it. Thank you!

Jennifer Rapé

Strategic Program Advisor, Office of Customer Care
Office of Customer and Stakeholder Engagement
Federal Acquisition Service

U.S. General Services Administration

404-272-3968 / Jennifer.Rape@gsa.gov

On Tue, Mar 25, 2025 at 1:03 PM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:

Hi Jennifer,

Yes, PID GSOOFI17CA is the Reference PIID for order 68HE0324F0042-P00002. (I put that order/mod# in
the wrong column, sorry.) That isa GMG MANAGEMENT CONSULTING INC. contract for $75,021

The row you screenshotted below is for contract (order) 63HERH25P0029, which does not have a reference
ID.

Kathryn

From: Jennifer Rape - QCC <jennifer.rape@ gsa.gov>

Sent: Tuesday, March 25, 2025 12:43 PM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>

Ce: Katrina Lloyd - QF2C <katrina.lloyd@gsa.gov>; Josh Gruenbaum - Q <josh.gruenbaum @gsa.gov>; Jehling, Erica
<Jehling.Erica@epa.gov>; Jon Dewolfe - QCCB <jonathan.dewolfe@gsa.gov>

Subject: Re: Contract Termination Shell

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Good Morning, Please verify the submission for Contract/Order # PIID 683HERH25P0029/ Reference PHD
(order number) 68HE0324F0042-P00002. Both PIIDs referenced are order #s.

EPA_00044670
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 19 of 82

Is this submission for Contract/Order # PIID GSOOF117CA Reference PIID (order
number) 68HE0324F0042-P00002?

Contract/Order #/ PIIP See ued Contract Description Status Cont ae Cong
number) Vali ~

2025 National Environmental Justice Terminated for
68HERH25P0029 68HE0324F0042-P00002 Conference and Training Program Convenience $20,000

Thank you in advance,

Jennifer Rapé

Strategic Program Advisor, Office of Customer Care
Office of Customer and Stakeholder Engagement
Federal Acquisition Service

U.S. General Services Administration

404-272-3968 / Jennifer.Rape@gsa.gov

On Tue, Mar 25, 2025 at 8:02 AM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:

Hi Katrina, you have it right. I looked up a few of these in FPDS, and what I notice is that when there is no
“reference” ID (i.e. it’s “0” in the spreadsheet), then the contract # column is the PIID in FPDS. But when
there is a reference ID, then that reference number is the PITD in FPDS, and then the “contract #” is the
“referenced IDV ID” in FPDS, as you noted.

Thanks for forcing us to understand this better — I think in the report we are getting from the staff, they are
mixing up the “contract#” and “reference” columns for the rows where contracts that have a reference. All
the info is there though, sorry this is confusing.

For example search for PID 68HERH23F0127 as a good example — the reference "68HERH19D0029" is
the referenced IDV. But if you search for PITID: 68 HEOP24P0007 — it has no reference ID in our
spreadsheet, and no reference in FPDS.

The part I could not get to match with FPDS is the mod#. For example, when you search for PITD
68HERH23F0127, you can see mod P000014, but not PO00013 — My guess on this is that the mod number

increased when we cancelled the contract (and you can see the mod date is 3/10), and FPDS does not store
every mod.

Kathryn

Get Outlook for iOS

From: Katrina Lloyd - QF2C <katrina.lloyd@gsa.gov>
Sent: Tuesday, March 25, 2025 7:38:33 AM

EPA_00044671
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 20 of 82

To: Loving, Kathryn <Loving.Kathryn@epa.gov>

Ce: Josh Gruenbaum - Q <josh.gruenbaum @gsa.gov>; Jehling, Erica <Jehling.Erica@epa.gov>; Jon Dewolfe - QCCB
<jonathan.dewolfe@gsa.gov>; Jennifer Rape - QCC <jennifer.rape@gsa.gov>

Subject: Re: Contract Termination Shell

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Hi Kathryn,

Thank you for the updated EPA submission. Please let me know if I have the correct understanding of how
EPAs Contract # and Reference PIIDs are assigned. I'm interpreting this latest submission as EPA has
awarded an IDIQ or BPA. For the IDIQ or BPA, a "Reference PIID" is assigned. Any "orders" issued off of
the IDIQ or BPA are assigned a "Contract #." Both the Reference PIID and associated Contract # will be
different numbers. However, there will be instances where Contract #s will be the same but associated with
different Reference PIIDs.

Essentially, it looks like the Contract numbers are being reused but associated with different Reference
PIIDs. If this is correct, please confirm if in these instances, the Contracts are separate and distinct with
different contract requirements.

Thank you!

U.S. General Services Administration

Katrina Lloyd

Senior Program Analyst
Office of the Commissioner
Federal Acquisition Service

katrina. lloyd@gsa.gov
Phone 267-588-9975

On Mon, Mar 24, 2025 at 6:25 PM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:
Hi Josh,

Improved list attached. I was only including the contract number before, but now I’ve started using the
column “Reference PITD” to hold a combined “order number” ”mod number” for each contract - I am told

that all 3 numbers (contract, order, mod) are required to make sure there are no duplicates.

But there was actually 1 duplicate! I have used “strikethrough” on it in line 55, and it has no numbers in
the contract value columns for that one.

EPA_00044672
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 21 of 82

Except for the strikethrough, the attached list is the same as what I sent you on March 22, except with that
bonus “order_mod” Reference column filled in.

I also added a column “Already in Josh’s list?” = yes, if this was already reported in the table you pasted
in this email thread, to make it easier for you to reconcile.

(I did not include the POLITICO “CASE NAM” entries that are in your list, because I wasn’t sure what
those are, and they’re not in our internal list —- ’m guessing those were maybe GSA following up on the
POLITICO subscription cancelations?)

Kathryn

From: Josh Gruenbaum - Q <josh.gruenbaum@gsa.gov>

Sent: Monday, March 24, 2025 8:50 AM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>

Ce: Katrina Lloyd - QF2C <katrina.lloyd@gsa.gov>; Jehling, Erica <Jehling.Erica@epa.gov>; Jon Dewolfe - QCCB
<jonathan.dewolfe@gsa.gov>; Jennifer Rape - QCC <jennifer.rape@gsa.gov>

Subject: Re: Contract Termination Shell

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

I think you guys were late on submissions and I believe a bunch of what was in there was new that we had
not logged so, if ok, I advise for you to work with the team to figure out what are new entries and what are
duplicates

U.S. General Services Administration

Josh Gruenbaum

Commissioner of Federal Acquisition Service
202-815-3780

josh, gruenbaum@gsa.gov

On Mon, Mar 24, 2025 at 8:48 AM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:

Sorry about that guys — I think Erica did the previous submission, and I didn’t see it in my email, so that’s
why I thought we were behind on submissions. But it sounds like we were not. And also that I need to go
through our internal contract list to get rid of duplicates!

EPA_00044673
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 22 of 82

Thanks,
Kathryn

From: Katrina Lloyd - QF2C <katrina.lloyd@gsa.gov>

Sent: Monday, March 24, 2025 7:29 AM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>; Jehling, Erica <Jehling.Erica@epa.gov>

Cc: Jon Dewolfe - QCCB <jonathan.dewolfe@gsa.gov>; Jennifer Rape - QCC <jennifer.rapbe@gsa.gov>; Josh
Gruenbaum - Q <josh.gruenbaum@gsa.gov>

Subject: Re: Contract Termination Shell

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Good Morning,

In addition to Josh email, the EPA spreadsheet provided includes several contract # duplicates (I counted
12) with different ceiling and savings values. We can't include duplicates in the GSA termination log.
Within your updated spreadsheet submission, please ensure there are no duplicate entries.

U.S. General Services Administration

Katrina Lloyd

Senior Program Analyst
Office of the Commissioner
Federal Acquisition Service

katrina. lloyd@gsa.gov
Phone 267-588-9975

On Sat, Mar 22, 2025 at 4:48 PM Josh Gruenbaum - Q <josh.gruenbaum@gsa.gov> wrote:
Hey guys

Great!

EPA_00044674
2:25-Ccv-02152-RMG

Date Filed 04/21/25

Entry Number 109-6

Page 23 of 82

See below for what we have from you all already. Please re-submit just new entires that haven't been
logged yet so we can ensure no duplicates, and yes, send over whenever you get these real time going
fwd, please and thank you!

31. 1/24/2025

32 = 1/24/2025

33 1/24/2025

34 == 1/24/2025

377

1/24/2025

430

2/7/2025

431

2/7/2025

1024 2/6/2025

1025 | 2/6/2025

1026 2/6/2025

68HERC24A0014

68HERC24A0013

68HERC24A0012

68HERH24P0143

68HERC23P0042

68HERD23P0034

68HERH24P0156

89303025PMA000335

89243623FCD000005

89303024PGC000024

GSO0F120DA

GS35F013CA

GS02F156AA

03310319D007 1

Environmental
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Agency

Jefferson
Consulting

FEDERAL
MANAGEMENT
PARTNERS,
LLC

Business Mgmt.
Assoc.

Lighthouse
Strategy
Consulting

GARTNER, INC.

POLITICO, LLC

POLITICO, LLC

Politico

Politico

Politico

DEI

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DEI

DEI

DEI

Media

Media

Media

Media

Media

EPA_00044675
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 24 of 82

Environmental
1027 2/6/2025 89303022CIM000010 Protection Politico Media
Agency

Environmental
1028 2/6/2025 89303021CLP000012 Protection Politico Media
Agency

Environmental
1029 2/6/2025 89303023PFE000093 Protection Politico Media
Agency

Environmental
1030 2/6/2025 89303022PMA000265 Protection Politico Media
Agency

Environmental
1031 2/6/2025 89303025PGD000003 Protection Politico Media
Agency

Environmental
1032 2/6/2025 89303024POP000005 Protection Politico Media
Agency

Environmental
1033 2/6/2025 89303024PFE000116 Protection Politico Media
Agency

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1034 2/6/2025 89303024PCI000010 Protection Politico Media
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1035 2/6/2025 89303024PED000058 Protection Politico Media
Agency

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1036 2/6/2025 89303025PIG000148 Protection Politico Media
Agency

Environmental
1037 2/6/2025 89303024PEI000105 Protection Politico Media
Agency

Environmental
1038 2/6/2025 89303025FE1400159 Protection Politico Media
03310323D0056 Agency

Environmental
1825 2/14/2025 68HERH23F0237 Protection ENDYNA, INC. Consulting Services
68HERH22A0025 Agency

EPA_00044676
2:25-Ccv-02152-RMG Date Filed 04/21/25

Terminated for

DEIA Training Convenience. _$15:000,000.00
DEIA Training cerminated for $15,000,000.00
DEIA Training cerminated for $15,000,000.00
DEIA Training Terminated for ¢ 489 900.00

Convenience

TO PURCHASE A

TWO YEAR

SUBSCRIPTION

WITH GARTNER HR

LEADERS TO

OBTAIN RESEARCH

AND ADVISORY

SERVICES Terminated for
COVERING Aenenienee $95,922.00
EMPLOYEE

EXPERIENCE,

DIVERSITY,

EQUITY, INCLUSION

AND

ACCESSIBILITY,

AND WORK LIFE

INTEGRATION.

E&E NEWS 12

MONTH BASE

PERIOD AND 12

MONTH OPTION

PERIOD

SUBSCRIPTION

ACCESS FOR FIVE Terminated for
SCIENTIFIC AND Convenience $545,710.00
POLICY

PUBLICATIONS:

ENERGYWIRE,

CLIMATEWIRE,

GREENWIRE, E&E

DAILY, AND E&E

NEWSPM.

POLITICO PRO

PLUS/PRO

ANALYSIS

SUBSCRIPTION TO Terminated for
CONSOLIDATE 4 Convenience $179,409.00
PROGRAM

OFFICES FOR 117

USERS-1-YEAR

SUBSCRIPTION.

Entry Number 109-6 Page 25 of 82

Dollars
Obligated)

$15,000,000.00

$15,000,000.00

$15,000,000.00

$0.00

$0.00

$0.00

$0.00

EPA_00044677
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 26 of 82

CASE NAM
Politico Pro Renewal update:
FY2025 - 172 customer states $399,091.23 $399,091.23 $0.00
subscribers that contract

was terminated

20, One-Year E&E CASE NAM
Publishing LLC (dba update:

Politico LLC) customer states $328,561.00 $328,561.00 $0.00
Subscriptions for 5 that contract
Publications was terminated
CASE NAM
update:
ESE News customer states $281,786.00 $49,000.00 $232,786.00

Subscription Services that contract

was terminated

This is a Firm Fixed CASE NAM

Price Single Source —_ update:

Acquisition to receive customer states $184,915.00 $129,305.00 $55,610.00
E&E News that contract

publications. was terminated

Subscription to E&E
News (Politico) LLC
for Energywire,
Climatewire, E&E
Daily, Greenwire, and
E&E News PM for
LPO's use program-
wide.

CASE NAM

update:

customer states $165,768.94 $129,303.75 $36,465.19
that contract

was terminated

CASE NAM
Politico Pro Plus One update:
Year Subscription for customer states $115,180.00 $115,180.00 $0.00
25 users. that contract

was terminated

Award 30 user seat

license contract to

Politico LLC dba E&E

News for 12 mos CASE NAM

digital subscriptions update:

within the Office of customer states $98,665.00 $98,665.00 $0.00
the Secretary inthe — that contract

amount of $29,808.00 was terminated

for the period

05/04/2022-05/03-

2022.

8 CASE NAM

licenses/subscriptions update:

of E&E NEWS for the customer states $59,475.00 $18,320.00 $41,155.00
Grid Deployment that contract

Office. was terminated

To secure 70 users CASE NAM
slots forE&E News — update: $43,560.00 $43,560.00 $0.00

subscriptions (E&E customer states

EPA_00044678
2:25-Ccv-02152-RMG

Daily, EnergyWire,
ClimateWire,
GreenWire, and
E&ENewsPM).

E&E News, purchase
one-year subscription
for 45 Fossil Energy
(FE) HQ with access
available to FE HQ
Staff. Period of
Performance
06/28/2024-
06/27/2025.

E&E News electronic
subscription renewal
3/1 1/24-3/10/25

Subscription for daily
comprehensive,
timely, objective
journalistic analysis,
news and information
on significant policy,
legislation, science,
legal, regulatory
affairs, and industry
developments across
the environment and
energy spectrum.

To procure a 1-year
online subscription to
(E&E News) 15 seats

The purpose of this
requirement is to
procure an annual
Politico Pro Plus
subscription for RTM
and OA users.

The U.S. Energy
Information
Administration (EIA),
ORTM and OA will
enter into a firm-fixed
price order with
Politico, LLC. to
procure Politico Pro
Plus subscription for
one year for 3 users.

THIS CALL ORDER
IS TO AWARD A
CONTRACT FOR

that contract
was terminated

CASE NAM
update:
customer states
that contract
was terminated

CASE NAM
update:
customer states
that contract
was terminated

CASE NAM
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CASE NAM
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customer states
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CASE NAM
update:
customer states
that contract
was terminated

TERMINATE
FOR
CONVENIENCE

Date Filed 04/21/25

$40,499.98

$29,239.00

$29,040.00

$25,800.00

$13,575.00

$12,300.00

Entry Number 109-6

$40,499.98 $0.00

$29,239.00 $0.00

$29,040.00 $0.00

$25,800.00 $0.00

$13,575.00 $0.00

$12,300.00 $0.00

$6,895,921.10 $6,895,921.10

Page 27 of 82

EPA_00044679
2:25-Ccv-02152-RMG Date Filed 04/21/25 =Entry Number 109-6

ENVIRONMENTAL (COMPLETE
JUSTICE AND CIVIL OR PARTIAL)
RIGHTS

PROGRAMMING

AND LEARNING.

U.S. General Services Administration

Josh Gruenbaum

Commissioner of Federal Acquisition Service
202-815-3780

josh.gruenbaum@qsa.qgov

Page 28 of 82

EPA_00044680
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 29 of 82

This document is produced in native format.

Original file name:

EPA Contracts and Grants.xlsx

EPA_00044681 - EPA_00044761
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 30 of 82

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/25/2025 8:00:37 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00044762
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 31 of 82

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00044763 - EPA_00044828
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 32 of 82

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/26/2025 6:01:06 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-26

Attachments: Contract_Terminations_withAmounts_2025-03-26.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-26, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00044829
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 33 of 82

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-03-26.xIsx

EPA_00044830 - EPA_00044849
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 34 of 82

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/26/2025 8:00:40 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00044850
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 35 of 82

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00044851 - EPA_00044916
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 36 of 82

Message

\From: Josh Gruenbaum -Q
[josh.gruenbaum @gsa.gov]

Sent: 3/26/2025 10:33:13 PM

To: Loving, Kathryn
[Loving.Kathryn@epa.gov]

Icc: —_ Jehling, Erica Caution: This email originated from outside EPA, please exercise additional
(Jehling.Erica@epa.gov]; caution when deciding whether to open attachments or click on provided
Brandon Bartel - B-C links.

[brandon.bartel@gsa.gov]
Subject:Re: EPA: grant
terminations up to March
25, 2025

Great, taking Katrina off and adding Brandon for grants

For the ones where you say "Awarded" = "no", this should go into the Misc. tab and not the grant
termination tab

Brandon pls confirm and scrub for dupes

On Wed, Mar 26, 2025 at 6:19 PM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:

Thanks for all your team’s support on contract reporting.

Now we have a grants update! We have made a big push on these over the last week — update attached, getting
us up to $369M total savings on grants, and there should be more by next week.

Note that I did update a few of the prior rows previously submitted by Erica, in the following way: when
“Awarded?” = No, that means that this was a draft award in our internal grants system, that we cancelled
before it was awarded.

In the previous report, “potential savings” for some of these was listed as $0, but I changed them to be the
ceiling amount of the award in this submission. This is debatable but I discussed with Erica, and we think
treating this as savings is more accurate (and consistent with the 1* row of the spreadsheet where we did treat
this cancelled pending grant as savings).

Best,
Kathryn

From: Brandon Bartel - B-C <brandon.bartel@gsa.gov>

Sent: Tuesday, March 25, 2025 3:40 PM

To: Josh Gruenbaum - Q <josh.gruenbaum@gsa.gov>

Ce: Loving, Kathryn <Loving.Kathryn@epa.gov>; Jennifer Rape - QCC <jennifer.rape@gsa.gov>; Katrina Lloyd - QF2C

EPA_00044956
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 37 of 82

<katrina.lloyd@gsa.gov>; Jehling, Erica <Jehling.Erica@epa.gov>; Jon Dewolfe - QCCB <jonathan.dewolfe@gsa.gov>
Subject: Re: Contract Termination Shell

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Please see attached and let me know if you have any questions!

On Tue, Mar 25, 2025 at 3:20 PM Josh Gruenbaum - Q <josh.gruenbaum@gsa.gov> wrote:

Brandon, please sent Kathryn the EPA logs for contracts and grants (just like you did for HHS)

Kathryn, please log per the template so that it is all uniform

Thanks, both!

On Tue, Mar 25, 2025 at 3:06 PM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:

Would you all mind sending back the full xlsx file when you are done — the version I sent you didn’t have
those POLITICO contracts from early Feb that start with 89.

I’m also not sure if I’m using the columns you expect.

I want to make sure that my numbers match perfectly with your numbers going forward, and that I’m
reporting in a format that you don’t have to mess with.

Thanks,
Kathryn

From: Jennifer Rape - QCC <jennifer.rape@ gsa.gov>

Sent: Tuesday, March 25, 2025 2:10 PM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>

Ce: Katrina Lloyd - QF2C <katrina.lloyd@gsa.gov>; Josh Gruenbaum - Q <josh.gruenbaum@gsa.gov>; Jehling, Erica
<Jehling.Erica@epa.gov>; Jon Dewolfe - QCCB <jonathan.dewolfe@gsa.gov>

Subject: Re: Contract Termination Shell

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Got it. Thank you!

EPA_00044957
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 38 of 82

Jennifer Rapé

Strategic Program Advisor, Office of Customer Care
Office of Customer and Stakeholder Engagement
Federal Acquisition Service

U.S. General Services Administration

404-272-3968 / Jennifer.Rape@gsa.gov

On Tue, Mar 25, 2025 at 1:03 PM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:

Hi Jennifer,

Yes, PID GSOOFI17CA is the Reference PIID for order 68HE0324F0042-P00002. (I put that order/mod#
in the wrong column, sorry.) That isa GMG MANAGEMENT CONSULTING INC. contract for $75,021

The row you screenshotted below is for contract (order) 63HERH25P0029, which does not have a
reference ID.

Kathryn

From: Jennifer Rape - QCC <jennifer.rape@gsa.gov>

Sent: Tuesday, March 25, 2025 12:43 PM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>

Ce: Katrina Lloyd - QF2C <katrina.lloyd@gsa.gov>; Josh Gruenbaum - Q <josh.gruenbaum@gsa.gov>; Jehling, Erica
<Jehling.Erica@epa.gov>; Jon Dewolfe - QCCB <jonathan.dewolfe@gsa.gov>

Subject: Re: Contract Termination Shell

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Good Morning, Please verify the submission for Contract/Order # PIID 683HERH25P0029/ Reference PHD
(order number) 68HE0324F0042-P00002. Both PIIDs referenced are order #s.

Is this submission for Contract/Order # PIID GSOOF117CA Reference PIID (order
number) 68HE0324F0042-P00002?

Convact Onder {iP ipementaiteg mee ocucy Contract Description Status Contact Gelling
y number) . - Vali ~

2025 National Environmental Justice Terminated for
68HERH25P0029 68HE0324F0042-P00002 Conference and Training Program Convenience $20,000

Thank you in advance,

EPA_00044958
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 39 of 82

Jennifer Rapé

Strategic Program Advisor, Office of Customer Care
Office of Customer and Stakeholder Engagement
Federal Acquisition Service

U.S. General Services Administration

404-272-3968 / Jennifer.Rape@gsa.gov

On Tue, Mar 25, 2025 at 8:02 AM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:

Hi Katrina, you have it right. I looked up a few of these in FPDS, and what I notice is that when there is no
“reference” ID (i.e. it’s “0” in the spreadsheet), then the contract # column is the PIID in FPDS. But when
there is a reference ID, then that reference number is the PITD in FPDS, and then the “contract #” is the
“referenced IDV ID” in FPDS, as you noted.

Thanks for forcing us to understand this better — I think in the report we are getting from the staff, they are
mixing up the “contract#” and “reference” columns for the rows where contracts that have a reference. All
the info is there though, sorry this is confusing.

For example search for PID 68HERH23F0127 as a good example — the reference "68HERH19D0029" is
the referenced IDV. But if you search for PIID: 68 HEOP24P0007 — it has no reference ID in our
spreadsheet, and no reference in FPDS.

The part I could not get to match with FPDS is the mod#. For example, when you search for PIID
68HERH23F0127, you can see mod P000014, but not P000013 — My guess on this is that the mod number

increased when we cancelled the contract (and you can see the mod date is 3/10), and FPDS does not store
every mod.

Kathryn

Get Outlook for iOS

From: Katrina Lloyd - QF2C <katrina.lloyd@gsa.gov>

Sent: Tuesday, March 25, 2025 7:38:33 AM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>

Ce: Josh Gruenbaum - Q <josh.gruenbaum @gsa.gov>; Jehling, Erica <Jehling.Erica@epa.gov>; Jon Dewolfe - QCCB
<jonathan.dewolfe@gsa.gov>; Jennifer Rape - QCC <jennifer.rape@gsa.gov>

Subject: Re: Contract Termination Shell

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

EPA_00044959
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 40 of 82

Hi Kathryn,

Thank you for the updated EPA submission. Please let me know if I have the correct understanding of how
EPAs Contract # and Reference PIIDs are assigned. I'm interpreting this latest submission as EPA has
awarded an IDIQ or BPA. For the IDIQ or BPA, a "Reference PIID" is assigned. Any "orders" issued off
of the IDIQ or BPA are assigned a "Contract #." Both the Reference PID and associated Contract # will be
different numbers. However, there will be instances where Contract #s will be the same but associated with
different Reference PIIDs.

Essentially, it looks like the Contract numbers are being reused but associated with different Reference
PIIDs. If this is correct, please confirm if in these instances, the Contracts are separate and distinct with
different contract requirements.

Thank you!

U.S. General Services Administration

Katrina Lloyd

Senior Program Analyst
Office of the Commissioner
Federal Acquisition Service

katrina. lloyd@gsa.gov
Phone 267-588-9975

On Mon, Mar 24, 2025 at 6:25 PM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:
Hi Josh,

Improved list attached. I was only including the contract number before, but now I’ve started using the
column “Reference PITD” to hold a combined “order number” ”mod number” for each contract - I am
told that all 3 numbers (contract, order, mod) are required to make sure there are no duplicates.

But there was actually 1 duplicate! I have used “strikethrough” on it in line 55, and it has no numbers in
the contract value columns for that one.

Except for the strikethrough, the attached list is the same as what I sent you on March 22, except with that
bonus “order_mod” Reference column filled in.

I also added a column “Already in Josh’s list?” = yes, if this was already reported in the table you pasted
in this email thread, to make it easier for you to reconcile.

(I did not include the POLITICO “CASE NAM” entries that are in your list, because I wasn’t sure what
those are, and they’re not in our internal list —- ’'m guessing those were maybe GSA following up on the
POLITICO subscription cancelations?)

EPA_00044960
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 41 of 82

Kathryn

From: Josh Gruenbaum - Q <josh.gruenbaum@gsa.gov>

Sent: Monday, March 24, 2025 8:50 AM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>

Ce: Katrina Lloyd - QF2C <katrina.lloyd@gsa.gov>; Jehling, Erica <Jehling.Erica@epa.gov>; Jon Dewolfe - QCCB
<jonathan.dewolfe@gsa.gov>; Jennifer Rape - QCC <jennifer.rape@gsa.gov>

Subject: Re: Contract Termination Shell

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

I think you guys were late on submissions and I believe a bunch of what was in there was new that we had
not logged so, if ok, I advise for you to work with the team to figure out what are new entries and what
are duplicates

U.S. General Services Administration

Josh Gruenbaum

Commissioner of Federal Acquisition Service
202-815-3780

josh.gruenbaum@qgsa.gov

On Mon, Mar 24, 2025 at 8:48 AM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:

Sorry about that guys — I think Erica did the previous submission, and I didn’t see it in my email, so
that’s why I thought we were behind on submissions. But it sounds like we were not. And also that I
need to go through our internal contract list to get rid of duplicates!

Thanks,
Kathryn

From: Katrina Lloyd - QF2C <katrina.lloyd@gsa.gov>
Sent: Monday, March 24, 2025 7:29 AM
To: Loving, Kathryn <Loving.Kathryn@epa.gov>; Jehling, Erica <Jehling.Erica@epa.gov>

EPA_00044961
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 42 of 82

Cc: Jon Dewolfe - QCCB <jonathan.dewolfe@gsa.gov>; Jennifer Rape - QCC <jennifer.rapbe@gsa.gov>; Josh
Gruenbaum - Q <josh.gruenbaum@gsa.gov>
Subject: Re: Contract Termination Shell

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Good Morning,

In addition to Josh email, the EPA spreadsheet provided includes several contract # duplicates (I counted
12) with different ceiling and savings values. We can't include duplicates in the GSA termination log.
Within your updated spreadsheet submission, please ensure there are no duplicate entries.

U.S. General Services Administration

Katrina Lloyd

Senior Program Analyst
Office of the Commissioner
Federal Acquisition Service

katrina. lloyd@gsa.gov
Phone 267-588-9975

On Sat, Mar 22, 2025 at 4:48 PM Josh Gruenbaum - Q <josh.gruenbaum@gsa.gov> wrote:
Hey guys

Great!

See below for what we have from you all already. Please re-submit just new entires that haven't been
logged yet so we can ensure no duplicates, and yes, send over whenever you get these real time going
fwd, please and thank you!

31

32

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68HERC24A0013
68HERC24A0012
68HERH24P0143
68HERC23P0042
68HERD23P0034
68HERH24P0156
89303025PMA000335
89243623FCD000005

89303024PGC000024

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89303022CIM000010
8930302 1CLP000012
89303023PFE000093
89303022PMA000265
89303025PGD000003
89303024POP000005
89303024PFE0001 16
89303024PCI000010
89303024PED000058
89303025P1G000148
89303024PE1000105
89303025FEI400159

68HERH23F 0237

Reference PIID (optional)
GSO00F120DA
GS35F013CA

GS02F156AA

03310319D007 1

Entry Number 109-6

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EPA_00044965
2:25-Ccv-02152-RMG

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68HERH22A0025

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EPA_00044966
2:25-Ccv-02152-RMG Date Filed 04/21/25

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Vendor
Jefferson Consulting
FEDERAL
MANAGEMENT
PARTNERS, LLC

Business Mgmt.
Assoc.

Lighthouse Strategy
Consulting

GARTNER, INC.
POLITICO, LLC
POLITICO, LLC
Politico
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Politico
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Politico

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EPA_00044967
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Consulting Services

Terminated for

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DEIA Training cerminated for $15,000,000.00 $15,000,000.00
DEIA Training Terminated for ¢ 489 900.00 $0.00

Convenience

TO PURCHASE A

TWO YEAR

SUBSCRIPTION

WITH GARTNER HR

LEADERS TO

OBTAIN RESEARCH

AND ADVISORY

SERVICES Terminated for
COVERING Canvanianea $95,922.00 $0.00
EMPLOYEE

EXPERIENCE,

DIVERSITY,

EQUITY, INCLUSION

AND

ACCESSIBILITY,

AND WORK LIFE

INTEGRATION.

EPA_00044969
2:25-Ccv-02152-RMG Date Filed 04/21/25

E&E NEWS 12
MONTH BASE
PERIOD AND 12
MONTH OPTION
PERIOD
SUBSCRIPTION
ACCESS FOR FIVE
SCIENTIFIC AND
POLICY
PUBLICATIONS:
ENERGYWIRE,
CLIMATEWIRE,
GREENWIRE, E&E
DAILY, AND E&E
NEWSPM.

Terminated for

Convenience  9249:710.00

POLITICO PRO
PLUS/PRO
ANALYSIS
SUBSCRIPTION TO
CONSOLIDATE 4
PROGRAM
OFFICES FOR 117
USERS-1-YEAR
SUBSCRIPTION.

Terminated for

Convenience _°179,409.00

CASE NAM

update:

customer states $399,091.23
that contract

was terminated

Politico Pro Renewal
FY2025 - 172
subscribers

20, One-Year E&E
Publishing LLC (dba

CASE NAM
update:

Politico LLC) customer states $328,561.00
Subscriptions for 5 that contract
Publications was terminated
CASE NAM
E&E News Update:

customer states $281,786.00
that contract
was terminated

Subscription Services

This is a Firm Fixed CASE NAM

Price Single Source —_ update:

Acquisition to receive customer states $184,915.00
E&E News that contract

publications. was terminated

Subscription to E&E
News (Politico) LLC
for Energywire,
Climatewire, E&E
Daily, Greenwire, and
E&E News PM for
LPO's use program-
wide.

CASE NAM

update:

customer states $165,768.94
that contract

was terminated

Entry Number 109-6 Page 50 of 82

$0.00

$0.00

$399,091.23 $0.00

$328,561.00 $0.00

$49,000.00 $232,786.00

$129,305.00 $55,610.00

$129,303.75 $36,465.19

EPA_00044970
2:25-Ccv-02152-RMG

Politico Pro Plus One
Year Subscription for
25 users.

Award 30 user seat
license contract to
Politico LLC dba E&E
News for 12 mos
digital subscriptions
within the Office of
the Secretary in the
amount of $29,808.00
for the period
05/04/2022-05/03-
2022.

8
licenses/subscriptions
of E&E NEWS for the
Grid Deployment
Office.

To secure 70 users
slots for E&E News
subscriptions (E&E
Daily, EnergyWire,
ClimateWire,
GreenWire, and
E&ENewsPM).

E&E News, purchase
one-year subscription
for 45 Fossil Energy
(FE) HQ with access
available to FE HQ
Staff. Period of
Performance
06/28/2024-
06/27/2025.

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subscription renewal
3/1 1/24-3/10/25

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comprehensive,
timely, objective
journalistic analysis,
news and information
on significant policy,
legislation, science,
legal, regulatory
affairs, and industry
developments across
the environment and
energy spectrum.

CASE NAM
update:
customer states
that contract
was terminated

CASE NAM
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CASE NAM
update:
customer states
that contract
was terminated

Date Filed 04/21/25

$115,180.00

$98,665.00

$59,475.00

$43,560.00

$40,499.98

$29,239.00

$29,040.00

Entry Number 109-6

$115,180.00 $0.00

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$18,320.00 $41,155.00

$43,560.00 $0.00

$40,499.98 $0.00

$29,239.00 $0.00

$29,040.00 $0.00

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2:25-Ccv-02152-RMG

To procure a 1-year
online subscription to
(E&E News) 15 seats

The purpose of this
requirement is to
procure an annual
Politico Pro Plus
subscription for RTM
and OA users.

The U.S. Energy
Information
Administration (EIA),
ORTM and OA will
enter into a firm-fixed
price order with
Politico, LLC. to
procure Politico Pro
Plus subscription for
one year for 3 users.

THIS CALL ORDER
IS TO AWARD A
CONTRACT FOR
ENVIRONMENTAL
JUSTICE AND CIVIL
RIGHTS
PROGRAMMING
AND LEARNING.

CASE NAM

update:

customer states $25,800.00
that contract

was terminated

CASE NAM

update:

customer states $13,575.00
that contract

was terminated

CASE NAM

update:

customer states $12,300.00
that contract

was terminated

TERMINATE
FOR

Date Filed 04/21/25

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$25,800.00 $0.00

$13,575.00 $0.00

$12,300.00 $0.00

CONVENIENCE $6,895,921.10 $6,895,921.10

(COMPLETE
OR PARTIAL)

U.S. General Services Administration

Josh Gruenbaum

Commissioner of Federal Acquisition Service
202-815-3780

josh. gruenbaum @gqsa.gov

EPA_00044972
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 53 of 82

U.S. General Services Administration

Josh Gruenbaum

Commissioner of Federal Acquisition Service
202-815-3780

josh. gruenbaum@qgsa.gov

EPA_00044973
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 54 of 82

Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 3/26/2025 10:47:04 PM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: COUNTY OF ALLEGHENY 95337801

Region 3 completed cancellation of Grant: COUNTY OF

ALLEGHENY 95337801.

Description: DESCRIPTION: THE AGREEMENT PROVIDES FUNDING
TO THE COUNTY OF ALLEGHENY, WHICH INCLUDES THE
ALLEGHENY COUNTY HEALTH DEPARTMENT (ACHD).
SPECIFICALLY, THE RECIPIENT WILL IMPLEMENT CLIMATE
RESILIENCY PROGRAMS TO HIGH PRIORITY ENVIRONMENTAL
JUSTICE (EJ) COMMUNITIES WITHIN ALLEGHENY COUNTY,
PRIORITIZED ACCORDING TO ACHD'S EJ INDEX CRITERIA. ACHD
WILL FACILITATE COLLABORATION AMONG COMMUNITY
MEMBERS, NON-PROFIT PARTNERS, ALLEGHENY CLEANWAYS AND
LANDFORCE, COUNTY GOVERNMENT, AND THE UNIVERSITY OF
PITTSBU

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOOOO00UMfx

EPA_00044974
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 55 of 82

Message

From: Loving, Kathryn [Loving.Kathryn@epa.gov]
Sent: 2/13/2025 3:01:46 PM

To: Voyles, Travis [voyles.travis@epa.gov]

Hi Travis, regarding this article:

https://dailycaller.com/2025/02/12/radical-left-wing-activist-org-sunsettin g-egrant-program-biden-epa-wanted-
to-fund-to-tune-of-50-million/

What we can tell so far is that this org was funded under EPA's Thriving Communities program, just based on
their public comments about where they get funds.
https://www.epa.gov/environmentaljustice/environmental-justice-thriving-communities-grantmaking-program

I believe some of these are the OEJECR block grants that were halted. Since we haven't cancelled any grants,
that must be why. However, this org doesn't show up as a recipient in our spending data. So now we are digging
into sub-grantees and trying to figure out exactly which grants were funding them.

EPA_00044976
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 56 of 82

Message

From: Coogan, Daniel [Coogan.Daniel@epa.gov]

Sent: 2/19/2025 1:32:35 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

] just wanted to check in on yesterday's EO -- Radical Transparency About Wasteful Spending — The White
House. It states: "I therefore direct the heads of executive departments and agencies (agencies) to take all
appropriate actions to make public, to the maximum extent permitted by law and as the heads of agencies
deem appropriate to promote the policies of my Administration, the complete details of every terminated
program, cancelled contract, terminated grant, or any other discontinued obligation of Federal

funds. Agencies shall ensure that such publication occurs in accordance with all applicable laws, regulations,
and the terms and conditions of the underlying contract, grant, or other award." To avoid redundancies and
ensure alignment with WH processes, I am thinking this will be something we coordinate through your team to
ensure terminations are published in an appropriate, standard manner. Does this sound reasonable? I can find 10

minutes to connect if that helps.

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Message

From: Coogan, Daniel [Coogan.Daniel@epa.gov]

Sent: 2/25/2025 2:08:23 AM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
Jehling, Erica

i had also flagged some things under 66.604 EJ small grant program
66.604 and 66.605 were copy and paste errors on my part. Moved to cancel.

EPA_00044980
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 58 of 82

Message

From: Jehling, Erica [Jehling.Erica@epa.gov]

Sent: 2/25/2025 4:15:35 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]

Attachments: 0-gcctx-d1-a2ad52714baa4b9ce3929534c97d2c21

EPA_00044981
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Date Filed 04/21/25

***DRAFT / PREDECISIONAL ***

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$10M total pending for all Brownsfields, $756M awarde

$31M pending, 66.045 clean school bus program has $428M awarded

CFDA/Assistance __|Program Code(s) | a
Number Listing ~ || CFDA/Assistance Listing Title | v | Assigned to CFDA Listi| ~ |CGER Designation |»! |] Notes |S Impact ||
66.039 Diesel Emission Reduction Act (DERA) DE Awaiting Policy Decision IRA S79M awarded
National Grants
66.040 Diesel Emissions Reduction Act (DERA) DS Awaiting Policy Decision 55M pending, 565M awarded
State Grants
66.437 Geographic Programs —Long Island Sound |45, LI Awaiting Policy Decision IDA 56M pending, $179M awarded
Program
66.721 Reducing Embodied Greenhouse Gas SP Awaiting Policy Decision IRA $116M pending
Emissions for Construction Materials and
Products
66.814 Brownfields Training, Research, and 41,TR Awaiting Policy Decision IDA
Technical Assistance Grants and
Cooperative Agreements
66.951 Environmental Education Grants Program [NE Awaiting Policy Decision OMS currently holding NOFO $876k pending, 54M awarded
66.049 Clean Heavy-Duty Vehicles Program 5Z Cancel Pending & Terminate ExistingIRA
66.306 Environmental Justice Collaborative 5B, EB, EC Cancel Pending & Terminate Existing 522M awarded
Problem-Solving Cooperative Agreement
Program
66.309 Surveys, Studies, Investigations, Training [5K, XJ, XK Cancel Pending & Terminate Existing 522M pending, $87M awarded
and Special Purpose Activities Relating to
Environmental Justice
66.312 Environmental Justice 5(C, Al, AK Cancel Pending & Terminate Existing 52M pending
Governmentto-Government (EIG2G)
66.518 State Senior Environmental Employment a2 Cancel Pending & Terminate Existing Workforce program; statutory 59M pending, 559M awarded
Program basis
66.60! Performance Partnership Grants BG Cancel Pending & Terminate Existing 521M pending, $952M awarded
66.61 Environmental Justice Thriving 5N, EN, EP Cancel Pending & Terminate ExistingIRA 529M awarded

Communities Grantmaking Program (EJ

EPA_00044982
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 60 of 82

Message

From: Loving, Kathryn [Loving.Kathryn@epa.gov]

Sent: 3/25/2025 4:44:32 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

Another idea - I was looking back at our old submissions to the WH, and on Feb 13 we included one for $50M
to Climate Justice Alliance with the note "Cancelled signature process on draft grant". The actual contract
number is "internal (redacted)", but here's the start of the contract description, to make it easier to find. (Of
course if this is the one being referenced, then I'm not sure exactly where the other $9M comes from!)

"Through a strategic learning stance of cooperation, mutual benefit, and power building in EJ communities,
UNITE-EJ (United Network for Impact, Transformation, and Equity in Environmental Justice Communities)
brings together collaborators across the nation — including Regional Thriving Communities Grantmakers,
Regional and National Thriving Communities Technical Assistance Centers (TCTACs), and EPA"

EPA_00044983
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 61 of 82

Message

From: Coogan, Daniel [Coogan.Daniel@epa.gov]

Sent: 3/25/2025 5:25:43 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
Loving, Kathryn

Another idea - I was looking back at our old submissions to the WH, and on Feb 13 we included one for $50M
to Climate Justice Alliance with the note "Cancelled signature process on draft grant". The actual contract
number is "internal (redacted)", but here's the start of the contract description, t...

Ahhhhh--okay, let me look into these and see if I can back into the number.

EPA_00044984
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 62 of 82

Message

From: Loving, Kathryn [Loving.Kathryn@epa.gov]

Sent: 3/27/2025 5:14:54 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
Loving, Kathryn

Another idea - I was looking back at our old submissions to the WH, and on Feb 13 we included one for $50M
to Climate Justice Alliance with the note "Cancelled signature process on draft grant". The actual contract
number is "internal (redacted)", but here's the start of the contract description, t...

This $50M cancelled-pending grant... is this real, i.e. we should keep it in our WH reporting, or is it maybe the
same as 84082101 (which was only for $11,967,248), so I should delete it from our reporting?

EPA_00044985
2:25-Ccv-02152-RMG Date Filed 04/21/25

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Message

From: Loving, Kathryn [Loving.Kathryn@epa.gov]
Sent: 2/22/2025 9:18:14 PM

Subject: Fw: List of Grant Terminations - February 20
Get Outlook for iOS

From: Coogan, Daniel <Coogan.Daniel@epa.gov>
Sent: Friday, February 21, 2025 11:53:31 AM

To: Vaseliou, Molly <Vaseliou.Molly@epa.gov>

Ce: Loving, Kathryn <Loving.Kathryn@epa.gov>
Subject: FW: List of Grant Terminations - February 20

Here you go. (I am crossing off the one we are not including).

From: Coogan, Daniel

Sent: Thursday, February 20, 2025 12:25 PM

To: Wise, Melissa <wise.melissa@epa.gov>
Subject: List of Grant Terminations - February 20

Melissa, can we please begin working with the GMOs to terminate the following 22 grants. I received direction from

political leadership that we are to cancel these.

Financial Award Total Remaining Recipient Name
Account Amount Outlayed Amount
Identifier Amount (Estimate)
Number (Estimate)
(FAIN)
13746681 | $8,000,000 $0.00 | $8,000,000.00 | DEEP SOUTH CENTER FOR ENVIRONMENTAL
JUSTICE INC
84061101 | $8,000,000 | $1,564,072.97 | $6,435,927.03 | INSTITUTE FOR SUSTAINABLE COMMUNITIES
84061101 | $8,000,000 | $2,006,774.22 | $5,993,225.78 | INSTITUTE FOR SUSTAINABLE COMMUNITIES
95314201 | $5,000,000 $449,582.62 | $4,550,417.38 | NATIONAL WILDLIFE FEDERATION
95334801 $500,000 $500,000.00 | NUEVA ESPERANZA, INC.
95338201 $500,000 $500,000.00 | APPALACHIAN VOICES
95341301 | $8,000,000 $839,393.02 | $7,160,606.98 | GREEN & HEALTHY HOMES INITIATIVE INC
96701501 | $5,000,000 | $1,069,922.66 | $3,930,077.34 | WICHITA STATE UNIVERSITY
$5,000,000 | $1,278,176.09 | $3,721,823.91 | REGENTS OF THE UNIVERSITY OF MINNESOTA
00E03450
00A01436 $500,000 $500,000.00 | NEW HAVEN ECOLOGY PROJECT INC
OOEO3451 | $4,000,000 | $1324.675-77 | $2,675,32423 | BIG_NFEP
00E03682 | $8,000,000 $354,411.16 | $7,645,588.84 | MINNEAPOLIS FOUNDATION

EPA_00045064
2:25-Ccv-02152-RMG

Date Filed 04/21/25

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00110501 $4,000,000 $91,832.00 | $3,908,168.00 | MONTANA STATE UNIVERSITY

02F50601 $500,000 $500,000.00 | BLACK UNITED FUND OF TEXAS, INC.

02F50801 $500,000 $500,000.00 | EARTH CARE INTERNATIONAL

02356601 $500,000 $500,000.00 | OREGON COAST VISITORS ASSOCIATION, INC.

02363801 $8,000,000 $991,565.58 | $7,008,434.42 | PHILANTHROPY NORTHWEST

03D03124 $500,000 $67,487.25 $432,512.75 | PARKS ALLIANCE OF LOUISVILLE, INC.

98T65801 $5,100,000 $908,057.59 | $4,191,942.41 | SAN DIEGO STATE UNIVERSITY FOUNDATION

98T88701 $500,000 $72,910.10 $427,089.90 | BAYVIEW HUNTERS POINT COMMUNITY
ADVOCATES, INC.

98T91201 $500,000 $500,000.00 | COUNCIL FOR NATIVE HAWAIIAN
ADVANCEMENT

98T91501 $500,000 $11,350.40 $488,649.60 | THE FRIENDSHIP HOUSE ASSOCIATION OF
AMERICAN INDIANS

Dan

EPA_00045065

2:25-Ccv-02152-RMG

Date Filed 04/21/25

Entry Number 109-6

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Message

From: Loving, Kathryn [Loving.Kathryn@epa.gov]

Sent: 2/14/2025 2:46:13 PM

Subject: Fw: Loving, Kathryn shared "contract_details" with you
Get Outlook for iOS

From: Voyles, Travis <voyles.travis@epa.gov>

Sent: Thursday, February 13, 2025 10:18:09 PM
To: Loving, Kathryn <Loving.Kathryn@epa.gov>; Killian, Cole <Killian.Ccole@epa.gov>
Cc: Corlett, Thomas <Corlett. Thomas@epa.gov>; Hanson, Paige (Catherine) <hanson.catherine@ epa.gov>
Subject: RE: Loving, Kathryn shared "contract_details" with you

Thank you!
And below is the test batch run that just got approved to cancel. We will go back into the spreadsheet and mark these as
“Approved to Cancel”.
Date
Cancellation PIID Terms and Rationale Notes from EAS Recipient Name
Conditions Description
Process Started
2/11/2025 68HERH24F0023 | No notice EO: Ending Technical assistance for ENDYNA, INC.
required. Term | radical and planning, development,
for wasteful implementation, and
convenience. government DEI | reporting assistance related to
FAR 52.249 programs and the environmental climate
preferencing justice program.
2/11/2025 68HERH23F0237 | No notice EO: Ending The contractor will fulfill ENDYNA, INC.
required. Term | radical and OEJECR’s need for EJ and
for wasteful Civil Rights programming
convenience. government DEI | and learning material in
FAR 52.249 programs and support of implementing EJ
preferencing. If | and Civil rights
we were doing considerations into EPA
this, we should policies, programs, and
insource. activities.
2/11/2025 68HEOP24F0031 | No notice EO: Ending The Suppliers are encouraged | HUMAN
required. Term | radical and to bid on training 40 CAPTIAL
for wasteful employees for 3 days of RESOURCES &
convenience. government DEI | training over a 5-week CONCEPTS INC
FAR 52.249 programs and training period, spread out
preferencing over 5 months that is in
person training. The training
will focus on critical
leadership skills and should
include some training on
Environmental Justice,
Working with Communities,

EPA_00045066

2:25-Ccv-02152-RMG

Date Filed 04/21/25

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and Diversity Equity
Inclusion and Accessibility
(DEIA).

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2/11/2025 68HERC24F0330 | No notice Waste: Should The EPA Office of Research | PEGASUS
required. Term | be in-sourced. and Development (ORD) is TECHNICAL
for (Training collaborating with Region 5 SERVICES, INC
convenience. material to develop Health Impact
FAR 52.249 development.) Assessment (HIA) learning

And HIA objectives and training

probably has a materials for new and

DEI angle, existing EPA staff, and

though it is not potentially external partners,

explicit here. such as states, to understand
and perform HIA in an EPA
context. ORD has a long
history of doing HIA
research and practice. Based
on our experience, we are
well-positioned to be a
resource for the Agency as it
is building capacity to do
cumulative impact
assessment (CIA), of which
one existing methodology is
Health Impact Assessment.
Cumulative impact
assessment is a priority by
which EPA has committed to
addressing environmental
justice issues.

2/11/2025 68HERH23F0327 | No notice Waste: Retreats The contractor shall provide | GENERAL
required. Term | might be strategic planning, DYNAMICS
for wasteful, and facilitation and leadership INFORMATION
convenience. external support for the Office of TECHNOLOGY,
FAR 52.249 contractor Land and Emergency INC.

support for a Management (OLEM),
retreat is Office of Emergency
definitely Management (OEM)
wasteful. conferences and meetings

related to OEM senior
management and staff office
wide retreats. Support for
this task order should also
include an experienced,
skillful facilitator to conduct
interviews with each OEM
staff and manager, provide
developmental training
exercises and training
materials, pre-retreat
development of an agenda
and topical discussions to
include strategic planning,

EPA_00045067

2:25-Ccv-02152-RMG

Date Filed 04/21/25

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and provide highlights after
the meeting.

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2/11/2025 68HERC23P0042 | No notice EO: Ending Procure Gartner HR research | GARTNER, INC.
required. Term | radical and and advisory services
for wasteful covering employee
convenience. government DEI | experience, diversity, equity,

FAR 52.249 programs and inclusion and accessibility,
preferencing. and work life integration.

2/11/2025 68HERH24P0143 | No notice EO: Ending CONSULTING SERVICES | LIGHTHOUSE
required. Term | radical and TO DEVELOP A STRATEGY
for wasteful COMPREHENSIVE PLAN CONSULTING
convenience. government DEI | AND STRATEGY WHICH LLC
FAR 52.249 programs and ADDRESSES DIVERSITY,

preferencing. EQUITY, INCLUSION,
ACCESSIBILITY, AND
STAFF ENGAGEMENT IN
A WAY THAT IS
MEANINGFUL,
RELEVANT, AND
APPROPRIATE FOR A
STEM AUDIENCE.
TRAINING OFFERED
SHOULD BE

2/11/2025 68HERC23F0428 | No notice EO: Ending SUPPORT FOR ICF
required. Term | radical and EXPANDING THE INCORPORATED,
for wasteful ENVIRONMENTAL L.L.C.
convenience. government DEI | JUSTICE CONTENT
FAR 52.249 programs and WITHIN ACE (AMERICA'S

preferencing. CHILDREN AND THE
ENVIRONMENT)

2/11/2025 68HERH24F0409 | No notice EO: Ending Provides administrative INTSCI-ENDYNA
required. Term | radical and support and meeting planning | LLC
for wasteful support to the office of

convenience.
FAR 52.249

government DEI
programs and
preferencing.

environmental justice and
external civil rights.

EPA_00045068

2:25-Ccv-02152-RMG

Date Filed 04/21/25

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Public Contract Description

Base and All
Options Value

Base
Exercised
Options Value

Total
Obligation

Outstanding
Value

BPAS 68HERH22A0018
THROUGH
68HERH22A0029. THIS IS
A NEW COMPETITIVE
EARTH T&M/FFP HYBRID
CALL ORDER FOR
OEJECR ENTITLED,
"TECHNICAL
ASSISTANCE FOR GRANT
APPLICANTS/RECIPIENTS
AND ADMINISTRATIVE
SUPPORT TO EPA UNDER
THE CLEAN AIR ACT
SECTION

$117,931,407.48

$70, 122,340.16

$64,668,605.16

$53,262,802.32

THIS CALL ORDER IS TO
AWARD A CONTRACT
FOR ENVIRONMENTAL
JUSTICE AND CIVIL
RIGHTS PROGRAMMING
AND LEARNING.

$6,895,921.10

$3,206,754.60

$750,000.00

$6,145,921.10

$228,292.84

$43,000.00

$43,000.00

$185,292.84

EPA_00045069
2:25-Ccv-02152-RMG

$248,464.00

Date Filed 04/21/25

$109,528.00

Entry Number 109-6

$109,528.00

$138,936.00

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TASK ORDER FOR
FACILITATION,
LEADERSHIP
DEVELOPMENT, AND
OFFICE-WIDE RETREAT
SUPPORT (FOLLOW-ON
TO EP-17-W-003/0013)
UNDER MULTIPLE-
AWARD BRIDGE
CONTRACTS FOR OFFICE
OF LAND AND
EMERGENCY
MANAGEMENT, OFFICE
OF EMERGENCY
MANAGEMENT.

$108,255.27

$108,255.27

$64,533.82

$43,721.45

$95,922.00

$95,922.00

$95,922.00

$0.00

CONSULTING SERVICES
TO DEVELOP A
COMPREHENSIVE PLAN
AND STRATEGY WHICH
ADDRESSES DIVERSITY,
EQUITY, INCLUSION,
ACCESSIBILITY, AND
STAFF ENGAGEMENT IN
A WAY THAT IS
MEANINGFUL,
RELEVANT, AND
APPROPRIATE FOR A

$180,000.00

$180,000.00

$180,000.00

$0.00

EPA_00045070
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 70 of 82

STEM AUDIENCE.
TRAINING OFFERED
SHOULD BE

SUPPORT FOR $985,889 $985,889 $985,889 0
EXPANDING THE
ENVIRONMENTAL
JUSTICE CONTENT
WITHIN ACE (AMERICA'S
CHILDREN AND THE
ENVIRONMENT)
CONTRACTOR SUPPORT _ | $257,672.10 $257,672.10 $257,672.10 $0.00
FOR OFFICE OF
ENVIRONMENTAL
JUSTICE AND EXTERNAL
CIVIL RIGHTS, OFFICE OF
POLICY, PARTNERSHIPS
AND PROGRAM
DEVELOPMENT,
PARTNERSHIPS AND
COLLABORATION
DIVISION.

Travis Voyles
C: (202) 787-0595

From: Loving, Kathryn <Loving.Kathryn@epa.gov>

Sent: Thursday, February 13, 2025 6:11 PM

To: Voyles, Travis <voyles.travis@epa.gov>; Corlett, Thomas <Corlett. Thomas@epa.gov>; Hanson, Paige (Catherine)
<hanson.catherine@epa.gov>; Killian, Cole <Killian.Cole@epa.gov>

Subject: RE: Loving, Kathryn shared "contract_details" with you

Hi everyone,

Keeping up the cadence today, we have added to the queue a list of 71 grants that were all signed before July 1,
2024, worth $119M (ceiling; savings will be lower once we subtract obligations). The new tab is called “Feb 13
grants to cancel”.

It was great to put 5 of the “gold bars” on this list, that are signed before July 1! (The majority of those were
signed after July 1.) We have marked those 5 rows in blue, because gold is too hard to read. Total award value
for those 5 is $36.9M, of which $27.8M has not yet been obligated. We are calling them “gold bars” because
they were awards to grant makers who plan to give subawards. 4 of the 5 are part of the Thriving communities
grantmaking program that Lee cancelled part of earlier today.

Best,
Kathryn

EPA_00045071
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 71 of 82

From: Loving, Kathryn

Sent: Thursday, February 13, 2025 9:22 AM

To: Voyles, Travis <voyles.travis@epa.gov>; Corlett, Thomas <Corlett. Thomas@epa.gov>; Hanson, Paige (Catherine)
<hanson.catherine@epa.gov>; Killian, Cole <Killian.Cole@epa.gov>

Subject: RE: Loving, Kathryn shared "contract_details" with you

I have added a column “T&C” that indicates no notice and comment period required for the contracts and grants
we already sent you. As you can imagine, the DOGE team has lawyers that are pretty experienced with grant
and contract cancellation at this point, so that’s what that is based on!

I will also add that the careers in EPA OMS are already supporting us on this — they are the ones who will be
executing the cancellation on your greenlight, not us. They see no issues with cancelling the Feb 11 list of
contracts, and we’re sharing the Feb 12 list with them now. They seem very knowledgeable about this topic, so
I think you should trust them on how to cancel properly!

Kathryn

From: Voyles, Travis <voyles.travis@epa.gov>

Sent: Thursday, February 13, 2025 6:33 AM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>; Corlett, Thomas <Corlett. Thomas@epa.gov>; Hanson, Paige (Catherine)
<hanson.catherine@epa.gov>; Killian, Cole <Killian.Cole@epa.gov>

Subject: Re: Loving, Kathryn shared "contract_details" with you

Thank you so much! This is really helpful. Paige and I had a good discussion with the Administrator last night
reviewing the examples and process. One aspect he raised that we just want to ensure we are covering when
taking the action to cancel that we are doing it reflective of any terms/conditions/notification requirements in
the contract or grant. Is that something y’all feel you are able to capture in your review or we can engage OMS
to quickly get us that details.

Otherwise he liked the process and agrees that we’ll be able to quickly move through reviewing these once that
element is addressed.

Sorry again to add one more aspect, but with that I believe we’ll be able to cover all the elements requested by
the Administrator.

Get Outlook for iOS

From: Loving, Kathryn <Loving.Kathryn@epa.gov>

Sent: Wednesday, February 12, 2025 6:47:34 PM

To: Corlett, Thomas <Corlett. Thomas@epa.gov>; Hanson, Paige (Catherine) <hanson.catherine@epa.gov>; Killian, Cole
<Killian.Cole@epa.gov>; Voyles, Travis <voyles.travis@epa.gov>

Subject: RE: Loving, Kathryn shared "contract_details" with you

Hi all, thank you so much for taking a look at the Feb 11 contracts last night! I moved the rows that were more
controversial over to the “contracts to review” tab. (e.g. if Paige flagged.) The careers are ready to hit cancel on
the rest, pending a green light from you all!

In addition, we added a new tab “Feb 12 contracts to cancel” with a new tranche of contracts we found today.
We’d love your review on those as well.

EPA_00045072
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 72 of 82

Similar story for the grants — the grants that Paige flagged are moved over to “grants for further review”. They
are all under 2 grant programs EPA has already halted, and were all signed prior to July 1, 2024, so we think
they will be straightforward to cancel once you give a green light. We did not add any new grants today; maybe

tomorrow

And in all tabs there is now a “reason” column to justify cancellation.

Best,
Kathryn

From: Loving, Kathryn

Sent: Tuesday, February 11, 2025 7:51 PM

To: Corlett, Thomas <Corlett. Thomas@epa.gov>; Hanson, Paige (Catherine) <hanson.catherine@epa.gov>; Killian, Cole
<Killian.Cole@epa.gov>; Voyles, Travis <voyles.travis@epa.gov>

Subject: Loving, Kathryn shared "contract_details" with you

=

Loving, Kathryn invited you to edit a file

Hi Travis, as we discussed today, here's a list of contracts and grants that we want to push
forward to cancellation, and keep the momentum going! We removed the ones we thought
were yellow flags, so we think these are pretty uncontroversial, but we added a column "AO
reviewed", for your team to add any greenlight or flags.

Thanks!
Kathryn

Eg==| contract details

[a This invite will only work for you and people with existing access.

EPA_00045073
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 73 of 82

EPA

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365 and may contain content that is controlled by Environmental Protection Agency (EPA).

EPA_00045074
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 74 of 82

Message

Sent: 2/18/2025 5:37:55 PM

To: Nitsch, Chad [Nitsch.Chad@epa.gov]
Subject: FW: CPRG Grant Drawdown Inquiry

Chad Mcintosh

Acting Deputy Administrator

U.S. Environmental Protection Agency
1200 Pennsylvania Avenue, NW

3412 WJC-North | Mail Code 1102
Washington, DC 20004

Tel. No. (202) 787-0580
mcintosh.chad@epa.gov

From: Levine, Carolyn <Levine.Carolyn@epa.gov>

Sent: Tuesday, February 18, 2025 12:08 PM

To: Wintrob, Paul <Wintrob.Paul@epa.gov>; Zieba, Kyle <Zieba.Kyle@ epa.gov>

Cc: Melanson, Kate <Melanson.Kate@epa.gov>; Norcross, Jeffrey <Norcross.Jeffrey@epa.gov>; Mcintosh, Chad
<mcintosh.chad@epa.gov>; Olson, Heather <Olson.Heather@epa.gov>; Ingram, Amir <Ingram.Amir@epa.gov>
Subject: RE: CPRG Grant Drawdown Inquiry

+/- OCIR folks
Thanks Paul. You can acknowledge the incoming and add Kyle, Heather, Amir in OCIR/OCA to respond (once
we have an approved statement).

Thank you.

Carolya Leuine

Legislative Director

Office of Congressional Affairs
U.S. EPA

(O): 202-564-1859

From: Wintrob, Paul <Wintrob.Paul@epa.gov>

Sent: Tuesday, February 18, 2025 11:13 AM

To: Mcintosh, Chad <mcintosh.chad@epa.gov>; Christensen, Claude <Christensen.Claude@epa.gov>; Levine, Carolyn
<Levine.Carolyn@epa.gov>; Bowles, Jack <Bowles.Jack@epa.gov>

Cc: Melanson, Kate <Melanson.Kate@epa.gov>; Norcross, Jeffrey <Norcross.Jeffrey@epa.gov>

Subject: FW: CPRG Grant Drawdown Inquiry

Importance: High

Hi Chad, Claude, Carolyn, and Jack,
Please see this funding question from Rep. Hime’s Office.
Thanks!

-Paul

EPA_00045075
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 75 of 82

From: Tertullien, Vernita <Vernita.Tertullien@mail.house.gov>

Sent: Tuesday, February 18, 2025 11:05 AM

To: Wintrob, Paul <Wintrob.Paul@epa.gov>

Ce: Tickey, Jimmy <Jimmy.Tickey@mail.house.gov>; Calvao, Kaleigh <Kaleigh.Calvao@mail.house.gov>
Subject: CPRG Grant Drawdown Inquiry

Importance: High

Caution: This email originated from outside EPA, please exercise additional caution when
deciding whether to open attachments or click on provided links.

Hi Paul,
| hope to find you doing well.

We just heard from CT Metropolitan Council of Governments that they are still not able to draw down their CPRG
grant from the EPA ASAP system. They have outstanding invoices for work completed prior to the funding pause and
don’t have the funds to cover those expenses.

Could you help us ascertain what the latest is on EPA drawdowns, and what the EPA’s guidance is in instances when
expenditures predate the funding pause? We appreciate any insight you might have on this situation. Thanks, Paul.

Vernita Tertullien
Economic and Community Development Director
Congressman Jim Himes, CT-04

350 Fairfield Avenue, Suite 603

Bridgeport, CT 06604

P: (203) 333-6600

Vernita. Tertullien@mail.house.gov

US CONGRESSMAN

JIM HIMES

REPRESENTIb HEC

‘oe

EPA_00045076
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-6 Page 76 of 82

Message

From: Hope, Brian [Hope.Brian@epa.gov]

Sent: 3/24/2025 8:09:32 PM

To: ZeldinScheduling [ZeldinScheduling@epa.gov]; Mcintosh, Chad [mcintosh.chad@epa.gov]; Voyles, Travis
[voyles.travis@epa.gov]; Amidon, Eric [Amidon.Eric@epa.gov]; Brown, Ashley [Brown.Ashley@epa.gov]

cc: Atkinson, Emily [Atkinson.Emily@epa.gov]

Subject: Administrator's Daily Reading File - March 24, 2025

Attachments: Administrator's Reading File.3.24.25.pdf

EPA_00045077
2:25-Cv-02152-RMG

<7ZEPA

Date Filed 04/21/25

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Entry Number 109-6

02799-AO-EX

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QUILL

Cj e-Vaj mest-) (-rou (elem oc-lUCy-Mel md atm a qn-le (ola aiUl eine) am-lalem gies) 1K em aleleciia a lamia low cre (0 Coll ay s4

ipa) eXerel{=e MG] a-1-1a]alolUrt-M Ct- om tpn) yle) aime) me OColal-i da Ulotdce) aM \Up-lR-lat-] ce leleM ca cele le (el acwml od geysde-lan|

Contact/s: Name

Organization

Stephen T. Sears

EIFS Industry Members Association

Instructions:

PDAA-OCSPP-Prepare draft response for signature by the Assistant Administrator for OCSPP.

Signature: AA-OCSPP-Assistant Administrator
Addressee: AD-Administrator
Assigned to: OCSPP Correspondence Team
File Code: 301_1051_a Records of Senior Officials - Historically significant records of senior officials
DJ Ul~e Yael ae ae) cc: AO-OCIR-RMOD, OAR Team,
OMS,
Status: Response Creation
Letter Date: 07-Mar-25
Received: 07-Mar-25 1:32 PM
Created By: Douglas Taksar
Date Signed:
Closed:
History:
Date & Time Action Taken Action Taken By

07-Mar-25 1:32 PM
24-Mar-25 9:47 AM

24-Mar-25 10:06 AM
24-Mar-25 10:07 AM

Printed: 24-Mar-25 10:07 AM

Case Created

Priority change to Normal (14
days)

Approval set to Approved

Task completed with Decision =
Approved

Douglas Taksar
Cynthia Gaines

Brigette Moritz
Brigette Moritz

Page 1lof1

EPA_00045078
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oo

EIFS INDUSTRY

fa WFAN) wemBers

ASSOCIATION

ECEIVE
MAR - 7 2025

March 7, 2025

The Honorable Lee M. Zeldin
Administrator

BY:

Environmental Protection Agency
1200 Pennsylvania Avenue, N.W.
Washington, DC 20460

RE: Grant Selection Pause of the Exterior Insulation and Finish Systems Industry in the “Reducing
Embodied Greenhouse Gas Emissions for Construction Materials and Products” Program

Dear Administrator Zeldin,

As the Executive Director of the forty-three-year-old trade group, the EIFS Industry Members
Association (EIMA), | represent a coalition of American manufacturers, suppliers, and installers in the
Exterior Insulation and Finish Systems (EIFS) industry—a cost-effective, efficient and high-performing
exterior cladding that has supported jobs and economic growth in the construction sector throughout
our country for several decades. Our industry makes EIFS and its component products in over 25 plant
locations in the USA, and our board members with North American manufacturing facilities include:
ADEX Systems, Inc., Dryvit Systems / Tremco, Inc., Master Wall, Inc., Sika Corp, Sto Corp, Dow, Inc., and
Saint-Gobain/ADFORS.

While our members wholeheartedly support the Administration’s efforts in rooting out fraud, waste and
abuse, | am writing to respectfully request that the EPA lift the current pause on the $2.2M grant our
industry was selected for in the “Reducing Embodied Greenhouse Gas Emissions for Construction
Materials and Products” (EPA-R-OCSPP-OPPT-FY2023-001) program.

On a broad level, this grant program will help grantees develop robust, high-quality environmental
product declarations (EPDs), which show environmental impacts of building products and provide
builders, contractors, and government buyers clear, standardized data to choose cost-effective, durable
and efficient materials like EIFS. For EIMA specifically, the grant will provide the association with
resources to develop up to 77 Environmental Product Declarations (EPDs) covering up to 1,350 EIFS
product variations, working with 100% of major U.S. EIFS manufacturers. The grant will also provide
technical assistance resources for EIFS installers, contractor organizations, and the established labor
organization to support training - including to residents in underserved communities — as part of the
project’s overall workforce development strategy.

Far from an abstract, speculative exercise, EIMA’s grant provides practical benefits that address the
Administration’s agenda. For example, EIFS help unleash American energy dominance by reducing
energy demand for building owners and occupants. EIFS’ energy efficiency has been a hallmark of the
cladding for over 50 years (insulation is the “I” in “EIFS”), and EIFS is more efficient than traditional,

513 West Broad Street, Suite 210 Falls Church, VA 22046-3257 Tel 703-538-1616 www.eima.com

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heavyweight materials with R-values that are in many cases 1/20 of EIFS. As seen in this case study on
the website of the U.S. Department of Energy, these efficiencies translate into tangible financial savings.

e RiseBoro Community Partnership: Knickerbocker Commons | Better Buildings Initiative

EIFS can also help address the housing and construction affordability crisis with a versatile and
advantageous cost profile. On several types of newly constructed buildings in major cities, data
furnished by RS Means from Gordian® shows that brick, stone, curtain wall, metal panel, and precast are
all much more expensive than EIFS regardless of location or building type. Moreover, EIFS’ modern,
lightweight profile enables the cladding to be used for new construction and retrofit applications - which
can be a boon in addressing the affordable housing crisis. In New York City, for example, EIFS recladding
was not only used to preserve deteriorating brick buildings, but EIFS also helped enhance occupants’
quality of life. The article below highlights an excellent example in New York City:

e A Rebirth in the Bronx: Is This How to Save Public Housing? - The New York Times The Crossing -
NYHC.

Additionally, EIFS ensure the buildings will be both resilient and efficient for the future and a key
component in preserving the past. The product does not merely define a building’s appearance; it keeps
the special characteristics of buildings working — even in classical, heritage-inspired architecture
advocated by President Trump. Some examples of new and renovated EIFS-clad buildings include:

e Mary Our Queen - Harrison Design - GA

e The Orion Amphitheater in AL

e §=6Christ the King Chapel | Christ the King Chapel VA

e Lido Beach Towers — NY

e Los Alamos Multi-use Office Building - Modular Building Institute in NM

Finally, this grant supports workforce training for installers by creating good-paying jobs and
strengthening local economies. Our grant has the full support and pledged participation from the
country’s longstanding, major wall and ceiling contractor organizations as well as the 160-year-old trade
organization representing plasterers and cement masons.

Because EIFS manufacturers, installers, and suppliers contribute to the built environment and tax base in
communities all over the country, the loss of grant funding puts these efforts at risk. Consequently, |
urge you to reconsider the decision to pause this grant and allow it to proceed.

Once again, we support the Administration’s overarching goals and we thank you for your consideration.
| am ready to meet with you or a member of your staff at your convenience.

Best regards,
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boda
Apt ¢ po—

Stephen T. Sears
Chief Executive Officer

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Message

From: DC-WJCN-3407-M @epa.gov [DC-WJCN-3407-M @epa.gov]
Sent: 3/11/2025 9:52:39 PM

To: McIntosh, Chad [mcintosh.chad@epa.gov]

Subject: NCIF_CUF

Attachments: image2025-03-11-175233.pdf

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U.S. Environmental Protection Agency
1200 Pennsylvania Ave, N.W.
Washington, DC 20460

March 11, 2025
By Email

Elizabeth Bafford

CEO

Climate United Fund

7550 Wisconsin Ave, 3rd floor
Bethesda, MD 20814
BBafford@climateunited.org

Re: Notice of Termination
Dear Elizabeth Bafford,

Pursuant to the U.S. Environmental Protection Agency’s (“EPA” or “the Agency”) authority under 2 C.F.R.
§§ 200.339-40, the General Terms and Conditions of EPA assistance award agreements, the terms and
conditions of the Grant Agreement, and the Agency’s inherent authority to reconsider prior
determinations in light of new information, the Agency is terminating Grant Agreement No. 84094001,
awarded to Climate United Fund under the Greenhouse Gas Reduction Fund (“GGRF”), effective
immediately. This termination is based on substantial concerns regarding program integrity, the award
process, programmatic fraud, waste, and abuse, and misalignment with the Agency’s priorities, which
collectively undermine the fundamental goals and statutory objectives of the award.

Following a comprehensive review and consistent with multiple ongoing independent federal
investigations into programmatic fraud, waste, abuse and conflicts of interest, EPA has identified
material deficiencies, including, but not limited to: 1) the absence of adequate oversight and account
controls to prevent financial mismanagement; 2) the improper or speculative allocation of funds
inconsistent with EPA’s oversight and fiscal responsibilities; and 3) the circumvention and defeat of key
oversight mechanisms in the disbursement of federal funds. EPA has determined that these deficiencies
pose an unacceptable risk to the efficient and lawful execution of this grant that cannot be remedied by
imposing specific conditions, necessitating immediate termination to safeguard taxpayer funds and
ensure compliance with federal financial assistance regulations.

Additionally, the Agency has considered concerns raised by EPA Administrator Lee Zeldin regarding the

need for rigorous oversight and accountability in the administration of public funds. The Administrator
has emphasized the importance of eliminating fraud, waste, and abuse within EPA, particularly in high-

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value awards such as those under GGRF. The structural and operational weaknesses identified in the
execution of this grant are inconsistent with these priorities and materially impair the EPA’s ability to
ensure compliance with statutory and regulatory mandates governing the lawful expenditure of public
money.

The Agency has also determined that its existing process for awarding and overseeing execution of the
Grant Agreement lacks sufficient protections to guard against potential violations of the Constitution,
particularly the Appointments Clause and private nondelegation doctrine. U.S. Const. art. Il, § 2, cl. 2;
e.g., Alpine Sec. Corp. v. FINRA, 121 F.4th 1314, 1341 (D.C. Cir. 2024). Consistent with its independent
duty to avoid exceeding constitutional constraints, EPA has reconsidered the prior administration’s
conclusion that the oversight mechanisms for the Grant Agreement are sufficient to ensure that the
Recipient will not exercise significant authority independently of EPA’s oversight and ultimate approval.

This termination is executed in accordance with Sections II|.S and III.T.4 of the Grant Agreement and
with EPA’s General Terms and Conditions as incorporated in, and applicable in addition to, the terms of
the Grant Agreement, and is consistent with EPA’s obligations to safeguard public funds and inherent
authority to reconsider prior decisions. This letter constitutes the notice of termination required by 2
C.F.R. § 200.341. Consistent with 2 C.F.R. §§ 200.344-45 and the Closeout Agreement, the recipient is
required to cease all further program expenditures immediately, provide a comprehensive final financial
and programmatic report, and comply with all applicable closeout procedures.

EPA is committed to ensuring that federal funding is administered in a manner that upholds
transparency, accountability, and the highest standards of fiscal responsibility. This termination reflects
the Agency’s duty to protect public funds and maintain the integrity of its grant programs. In the coming
months, EPA will work to re-obligate lawfully appropriated funds within the GGRF program with
enhanced controls to ensure adequate governance, transparency, and accountability, consistent with
applicable regulatory and statutory requirements.

Sincerely,

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W.C. Mcintosh
Acting Deputy Administrator
U.S. Environmental Protection Agency

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e U.S. EPA, Office of the Greenhouse Gas Reduction Fund (OGGRF)
e U.S. EPA, Office of Mission Support (OMS)
e U.S. EPA, Office of General Counsel (OGC)
e U.S. Department of Justice
U.S. Department of the Treasury
U.S. House of Representatives
U.S. Senate
Citibank, N.A.

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